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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

CASE NO. 20-cr-00165-CMA

UNITED STATES OF AMERICA,

               Plaintiff,

v.

GREGORY LOPEZ,

               Defendant.


              RESPONSES TO PRESENTENCE INVESTIGATION REPORT


       The defendant, Gregory Lopez (“Mr. Lopez”), by and through undersigned counsel, David

Kraut, respectfully submits the following responses to the Presentence Investigation Report

(“PSR”) (ECF 43). Mr. Lopez does not object to the guideline calculation set forth in the PSR. His

responses seek to clarify and/or expand upon several factual statements contained in the PSR; none

affect the guideline range.

       Paragraph 4: Mr. Lopez has engaged in no misconduct while in custody in connection

with this case. From June 10, 2020 through December 2020, Mr. Lopez was housed at the GEO

Immigration Detention Center in Aurora, Colorado (“GEO”). During his first few weeks at GEO,

he made many suicidal statements and engaged in self-harm. However, after he began taking

mental health medication (see ECF 43 at ¶86), these behaviors stopped and he adjusted to

confinement at that facility.

       In December 2020, Mr. Lopez was transferred to the Federal Detention Center (“FDC”).

He has not been disciplined at the FDC, but he has been repeatedly threatened by other inmates.

In August 2021, two inmates approached Mr. Lopez and his cellmate (also a person accused of a
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sex offense) in their cell. One of these other inmates brandished a knife and stated, “I could kill

you and stuff you under the bed and nobody would care.” Mr. Lopez did not respond. As staff

approached to intervene, the inmate holding the knife threw the knife into Mr. Lopez’s cell.

Following this incident, Mr. Lopez was moved into the Secure Housing Unit (“SHU”) at the

Federal Correctional Institution in Englewood (“FCI-Englewood”) for his own protection.

       Life for Mr. Lopez in the SHU has been very difficult. He is locked in his cell for 23 hours

per day and spends his hour out in a cage slightly larger than his cell from which he can see the

sky. His commissary options are limited to a few items, he can only access a telephone once a

week, and he has no access to a television at any time.

       Despite his dramatically reduced privileges and freedoms in the SHU, Mr. Lopez has

continued to demonstrate excellent institutional behavior over these last three months. Counsel has

repeatedly requested that the U.S. Marshal Service transfer Mr. Lopez to a different facility in

which he would not need to be placed in administrative segregation for his own safety. The

Marshals have denied these requests based on their belief that he would face the same threats and

dangers in general population in any available facility.

       Paragraph 32: During his arrest, Mr. Lopez admitted he sold the videos in question to one

other person and provided the arresting agents with the email address for that person. Mr. Lopez

recalls this other sale occurring a few days before the offense of conviction. The videos sold in

this prior sale were the same videos sold to the undercover agent. Mr. Lopez did not create or sell

any other videos depicting child sex abuse.

       Paragraph 91: Mr. Lopez would like to take mental health medication. During the 35 days

he spent in the El Paso County Detention Center, he was not given medication. During this time,

he engaged in self-harm and made many suicidal statements (in writing and on the phone). After
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the first few weeks at GEO, he took mental health medication as prescribed and did not engage in

self-harm or experience suicidal ideation.

       When he arrived at the FDC, he quickly learned other inmates intended to physically

assault him (potentially with weapons) at any opportunity. For this reason, he left his cell only for

bare essentials – occasional showers and phone calls with his lawyer. He was so afraid to leave his

cell that he never signed up for medical or mental health appointments.

       Once he was transferred to the SHU, he requested an appointment with a mental health

care provider and mental health medication, but no mental health professional has seen him while

he has been there. He has attended “sick call” several times in order to ask the facility nurse to

request mental health attention, but he has been told that the facility is “weeks behind” on fulfilling

mental health appointment and medication requests and that he remains on a waitlist.

       Mr. Lopez wants and needs mental health counseling and treatment. He hopes to move to

a safer environment in the BOP as soon as possible in order to obtain these important services.


                                               Respectfully submitted,

                                               VIRGINIA L. GRADY
                                               Federal Public Defender



                                               s/ David Kraut
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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 10, 2021, I filed the foregoing RESPONSES TO
PRESENTENCE INVESTIGATION REPORT with the Clerk of Court using the CM/ECF
system, which will send notification of such filing to the following e-mail address:

       Alecia L. Riewerts, Assistant United States Attorney
       E-mail: Alecia.Riewerts@usdoj.gov

        I hereby certify that I have mailed or served the document or paper to the following
participant in the manner (mail, hand-delivery, etc.) indicated next to the participant’s name:

       Gregory Lopez (via U.S. mail)
       Reg. No. 45796-013

                                           s/ David Kraut
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